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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
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11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              STATEMENT OF NON-OPPOSITION OF
                                               DEFENDANTS NSO GROUP
13               Plaintiffs,                   TECHNOLOGIES LIMITED
                                               AND Q CYBER TECHNOLOGIES
14         v.                                  LIMITED RE PLAINTIFFS’ CROSS-
                                               MOTION TO AUTHORIZE ALTERNATE
15   NSO GROUP TECHNOLOGIES LIMITED            SERVICE [DKT. NO. 29]
     and Q CYBER TECHNOLOGIES LIMITED,
16                                             Date:    TBD
                 Defendants.                   Time:    TBD
17                                             Ctrm:    3
                                               Judge:   Hon. Phyllis J. Hamilton
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                                               Action Filed: 10/29/2019
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      DEFENDANTS’ STATEMENT OF NON-                                  Case No. 4:19-cv-07123-PJH
      OPPOSITION
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 1           TO THE COURT AND PLAINTIFFS AND THEIR COUNSEL:

 2           On March 6, 2020, Defendants filed an Application to Set Aside Default and to Enlarge

 3   Time to File a Responsive Pleading to the Complaint. [Dkt. No. 24.] This Application has been

 4   fully briefed and will be re-noticed for hearing before this Court, as ordered by the Clerk of Court.

 5   [Dkt. No. 37.]

 6           On March 9, 2020, Plaintiffs filed a Cross-Motion to Authorize Alternate Service. [Dkt.

 7   No. 29.] On March 18, 2020, Plaintiffs filed a Notice of Supplemental Facts regarding service of

 8   the summons and complaint pursuant to the Hague Convention, notifying the Court that the Israeli

 9   government issued the Hague Convention Article 6 Certificate on March 16, 2020, thus completing

10   service under the Hague Convention, and asking the Court to strike Plaintiffs’ Motion for Alternate

11   Service. [Dkt. No. 33.]

12           Defendants do not oppose Plaintiffs’ Cross-Motion to Authorize Alternate Service, but

13   Defendants also agree with Plaintiffs that the Cross-Motion to Authorize Alternate Service is no

14   longer necessary and can be stricken.

15           Defendants are currently in default and have applied to have that default set aside—relief

16   Plaintiffs do not oppose. [Dkt. No. 29.] Defendants have also applied to enlarge the time to file a

17   responsive pleading to the Complaint. Plaintiffs have formally opposed that relief, but the parties

18   are in the process of conferring to determine whether that matter can be resolved without court

19   intervention.1

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       The Government of Israel’s March 16, 2020, issuance of the Hague Convention certificate of
22   service completed service and started the “clock” for the Defendants’ time to respond to the
     complaint. OGM, Inc. v. Televisa S.A. de C.V., 2009 WL 1025971, at *3 (C.D. Cal. Apr. 15, 2009);
23   Monster Film Ltd. v. Galloping Illusions Pty. Ltd., 2016 WL 11520811 (C.D. Cal. 2016). Under
     Federal Rule of Civil Procedure 12(a)(1)(A), Defendants’ response to the complaint would be due
24   April 6, 2020. Upon Plaintiff’s application, however, Defendants are in default. [Dkt. No. 22.] If
25   Defendants’ application to set aside the default is heard after April 6, 2020, and if their request for
     enlargement of time cannot be resolved and is ultimately denied, Defendants’ time to respond to
26   the Complaint would have elapsed prior to the date for the hearing on Defendants’ request to set
     aside the default. To avoid the possible scenario of Defendants being subject to a new default at
27   the instant the existing default is set aside, Defendants have conferred with counsel for Plaintiffs
     to determine whether the parties can reach an agreement on a reasonable response date. If such an
28   agreement can be reached, Defendants will inform the Court and will withdraw their request to
        DEFENDANTS’ STATEMENT OF                        1                        Case No. 4:19-cv-07123-PJH
         NON-OPPOSITION
       Case 4:19-cv-07123-PJH Document 40 Filed 03/23/20 Page 3 of 3




 1           By filing this statement of non-opposition, Defendants do not consent to personal

 2   jurisdiction or subject matter jurisdiction and reserve all their rights to contest personal jurisdiction

 3   and subject matter jurisdiction.

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     DATED: March 23, 2020
 5                                                       KING & SPALDING LLP
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 7
                                                         By: /s/ Joseph N. Akrotirianakis_________
 8
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 9                                                           AARON S. CRAIG
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10                                                           TECHNOLOGIES LIMITED and Q
                                                             CYBER TECHNOLOGIES LIMITED
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28   enlarge the time to respond to the complaint.
       DEFENDANTS’ STATEMENT OF                          2                         Case No. 4:19-cv-07123-PJH
       NON-OPPOSITION
